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               EXHIBIT D
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                                                UNITED STATES
                                    SECURITIES AND EXCHANGE COMMISSION
                                                                   WASHINGTON, D. C. 20549


                                                                            FORM 8-K

                                                                      CURRENT REPORT
                                                             Pursuant to Section 13 or 15(d) of the
                                                               Securities Exchange Act of 1934
                                                       Date of Report (Date of earliest event reported):
                                                                     December 10, 2024


                                                   Albertsons Companies, Inc.
                                                          (Exact Name of Registrant as Specified in Charter)


                       Delaware                                                    001-39350                                            XX-XXXXXXX
      (State or Other Jurisdiction of Incorporation)                        (Commission File Number)                           (IRS Employer Identification No.)


                                                                          250 Parkcenter Blvd.
                                                                           Boise, Idaho 83706
                                                               (Address of principal executive office and zip code)
                                                                                (208) 395-6200
                                                               (Registrant’s telephone number, including area code)
                                                                               Not Applicable
                                                         (Former Name or Former Address, if Changed Since Last Report)



Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the registrant under any of the following
provisions:
☐         Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)
☐         Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)
☐         Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))
☐         Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))

Securities registered pursuant to Section 12(b) of the Act:
                  Title of each class                                          Trading Symbol(s)                         Name of each exchange on which registered
        Class A common stock, $0.01 par value                                         ACI                                       New York Stock Exchange

      Indicate by check mark whether the registrant is an emerging growth company as defined in Rule 405 of the Securities Act of 1933 (§230.405 of this
      chapter) or Rule 12b-2 of the Securities Exchange Act of 1934 (§240.12b-2 of this chapter).
                                                                                                                              Emerging growth company ☐
      If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with
      any new or revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act.                                        ☐
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Item 1.02          Termination of a Material Definitive Agreement


On December 10, 2024, Albertsons Companies, Inc. (the "Company") sent a notice to The Kroger Co. ("Kroger") terminating its previously announced
Agreement and Plan of Merger, dated as of October 13, 2022, by and among the Company, Kroger and Kettle Merger Sub, Inc. ("Merger Sub"), which
provided for the merger of Merger Sub with and into the Company, with the Company as the surviving corporation and a direct, wholly owned subsidiary of
Kroger (the "Merger" and such agreement, the "Merger Agreement"). A description of the Merger Agreement and the transactions contemplated by the Merger
Agreement was included in the Current Report on Form 8-K filed by the Company with the Securities and Exchange Commission on October 14, 2022, and is
incorporated herein by reference.

The Company's termination of the Merger Agreement followed the December 10, 2024 decision of United States District Court for the District of Oregon in the
case Federal Trade Commission et al. v. The Kroger Company and Albertsons Companies, Inc. (Case No.: 3:24-cv-00347-AN), whereby the court issued a
preliminary injunction enjoining the consummation of the Merger. In light of the preliminary injunction issued by the court, and in accordance with Section
8.1(e) of the Merger Agreement, the Company exercised its right to terminate the Merger Agreement.
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SIGNATURES

Pursuant to the requirements of the Securities Exchange Act of 1934, as amended, the registrant has duly caused this report to be signed on its behalf by the
undersigned hereunto duly authorized.


                                                                   Albertsons Companies, Inc.
                                                                   (Registrant)

December 11, 2024                                                  By:          /s/ Bipasha Mukherjee
                                                                   Name:        Bipasha Mukherjee
                                                                   Title:       Vice President - Corporate & Securities, Corporate Secretary
